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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

ALEXANDER YOUNG

               Plaintiff,                   JURY TRIAL

V.                                                    ENiEP-erCIVIL
                                                                 ACTION NO
                                        fILED --      P-ECEI\IED
                                   ===- LOGGED
THIEBLOT RYAN P .A.
                                   -==-          --

                                                                      ELH 1.1CV 15 6 2

Defendant.


                                        COMPLAINT

     1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. ~ 1692; Md. Ann. Code Commercial Law Maryland

Consumer Debt Collection Act. ~ 14-204 et seq. ("MCDCA"); and the Md. Ann.

Code Commercial Law Consumer Practices Act ~ 13-301 et seq.

   2. The Court's jurisdiction is conferred by 15 U.S.C.1692k and 28 U.S.C. 1331
and 1367.

     3. Plaintiff is a natural person who resides in Baltimore, MD.

     4. Plaintiff is a consumer within the FDCP A.

     5. Defendant is a debt collector within the FDCP A.

     6. Defendant is a collection agency within the Maryland Collection Agency

Licensing Act ~7-10.
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  7. Defendant communicated with plaintiff or others on or after one year before

the date of this action, in connection with collection efforts with regard to

plaintiff s disputed personal debt.


 8. Attached hereto and incorporated herein as Exhibit 1 is a true and accurate

copy of a collection letter from the Defendant to the Plaintiff dated May 30, 2010.


 9. The Defendant attempted to collect $3,958.48 on behalf of Bank of America.


 10. Attached hereto and incorporated herein as Exhibit 2 is a true and accurate

copy of law suit filed by the Defendant on behalf of Bank of America and affidavit

signed by Cristina Ferrer on June 2, 2010.


11. The Defendant attempted to collect a different amount in the law suit and then

claimed Plaintiff owed $3,936.48.


12. Attached hereto and incorporated herein as Exhibit 3 is a true and accurate

copy ofa letter the Plaintiff received from Bank of America dated May 25, 2010.

This letter states that the amount claimed owed by the Defendant in its collection

letter and law suit is not owed.


13. Defendant regularly sends letters to consumer debtors wherein the balances


listed in the heading are not the actual balances that are due and owing.
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14. Defendant's collection letters are misleading and deceptive in that they ask for


payment of a debt based on artificially inflated figures that may confuse the least


sophisticated consumer.



15. Defendant's collection letters sent to Plaintiff contain false representations of


the character, amount or legal status ofa debt, in violation of 15 U.S.C. ~


1692e(2)(A).



16. Defendant created or had created an affidavit which was sworn to by the


Banks Agent to facilitate the cause of action against Plaintiff.



17. Defendant's affidavit appears on its face to be false and untrue.



18. Defendant represented in court, through documents created for court, that the


Plaintiffs balance, which was not actually owed and by requesting a payment


based on that artificially inflated total, Defendant's collection letters and law suit


sent to Plaintiff constitute false or deceptive means to attempt to collect consumer


debt in violation of 15 U.S.C. ~ 1692e(lO).



19. Defendant's actions constitute unfair or unconscionable means of collecting


consumer debt in violation of 15 U.S.C.    S   1692f.
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SECOND COUNT

20. The allegations of the First Count are repeated and realleged as if fully set

forth herein.

21. Within three years prior to the date of this action Defendant has engaged in


acts and practices as to plaintiff in violation of the Md. Ann. Code Commercial


Law Maryland Consumer Debt Collection Act       S 14-204   et seq. ("MCDCA").


22. Defendant has committed unfair or deceptive acts or practices within the


meaning of the Md. Ann. Code Commercial Law Consumer Practices Act           S

13-301 et seq.

WHEREFORE Plaintiff respectfully requests this Court to:

1. Award Plaintiff such damages as are permitted by law both compensatory and

punitive, including $1,000 statutory damages for each communication against the

Defendant;

2. Award the Plaintiff costs of suit and a reasonable attorney's fee;

3. Award declaratory and injunctive relief, and such other and further relief as law

or equity may provide
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